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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA
Vv.
GREG RUBENACKER,

Defendant.

CRIMINAL NO. 21-CR-193(BAH)

VIOLATIONS:

18 U.S.C. § 231(a)()

(Civil Disorder)

18 U.S.C. §§ 1512(c)(2), 2

(Obstruction of an Official Proceeding)
18 U.S.C. § 111(a)()

(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

18 U.S.C. § 1752(a)(4)

(Engaging in Physical Violence in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol Building)
40 U.S.C. § 5104(e)(2)(E)

(Impeding Passage Through the Capitol
Grounds or Buildings)

40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT

The Grand Jury charges that:
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COUNT ONE
On or about January 6, 2021, within the District of Columbia, GREG RUBENACKER
committed and attempted to commit an act to obstruct, impede, and interfere with a law
enforcement officer, that is, an officer lawfully engaged in the lawful performance of his/her
official duties, incident to and during the commission of a civil disorder which in any way and
degree obstructed, delayed, and adversely affected commerce and the movement of any article and
commodity in commerce and the conduct and performance of any federally protected function.
(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))
COUNT TWO
On or about January 6, 2021, within the District of Columbia and elsewhere, GREG
RUBENACKER attempted to, and did, corruptly obstruct, influence, and impede an official
proceeding, that is, a proceeding before Congress, specifically, Congress’s certification of the
Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United
States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT THREE
On or about January 6, 2021, within the District of Columbia, GREG RUBENACKER
did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee
of the United States, and of any branch of the United States Government (including any member
of the uniformed services), and any person assisting such an officer and employee, while such

person was engaged in and on account of the performance of official duties, and where the acts in
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violation of this section involve physical contact with the victim and the intent to commit another

felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, GREG RUBENACKER

did unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any
posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President was temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT FIVE

On or about January 6, 2021, within the District of Columbia, GREG RUBENACKER
did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, engage in disorderly and disruptive conduct in and within such proximity
to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted
area within the United States Capitol and its grounds, where the Vice President was temporarily
visiting, when and so that such conduct did in fact impede and disrupt the orderly conduct of
Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT SIX
On or about January 6, 2021, within the District of Columbia, GREG RUBENACKER
did knowingly, engage in any act of physical violence against any person and property in a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was temporarily

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visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4))

COUNT SEVEN

On or about January 6, 2021, within the District of Columbia, GREG RUBENACKER
willfully and knowingly engaged in disorderly and disruptive conduct in any of the Capitol
Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session of
Congress and either House of Congress, and the orderly conduct in that building of a hearing before
or any deliberation of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT EIGHT
On or about January 6, 2021, within the District of Columbia, GREG RUBENACKER
willfully and knowingly obstructed, and impeded passage through and within, the United States
Capitol Grounds and any of the Capitol Buildings.

(Impeding Passage Through the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(E))

COUNT NINE
On or about January 6, 2021, within the District of Columbia, GREG RUBENACKER
willfully and knowingly engaged in an act of physical violence within the United States Capitol
Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))
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COUNT TEN
On or about January 6, 2021, within the District of Columbia, GREG RUBENACKER
willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol
Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON,.

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Attorney of the United States in
and for the District of Columbia.
